JS 44 (Rev. 04/21)           Case 4:22-cv-11894-NMG
                                                CIVILDocument
                                                      COVER 1-1  Filed 11/09/22 Page 1 of 1
                                                              SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                               DEFENDANTS
       Robin L. Boucher                                                                      U.S. Bank National Association, as Trustee for the RMAC Trust,
                                                                                             Series 2016-CTT, successor in Interest to Mortgage Electronic Registration Systems, Inc.
       Cary D. Boucher                                                                       as nominee for National Future Mortgage, Inc.
   (b) County of Residence of First Listed Plaintiff          Worcester                        County of Residence of First Listed Defendant
                            (EXCEPT IN U.S. PLAINTIFF CASES)                                                         (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                NOTE:    IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                         THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                     Attorneys (If Known) Michael K. Lane (BBO# 673501)
                                                  James P. Ehrhard, Esq.                                             mlane@daypitney.com
                                                  Ehrhard & Associates, P.C.                                         Day Pitney LLP
                                                  250 Commercial Street, Suite 410                                   One Federal Street, 29th Floor
                                                  Worcester, MA 01608                                                Boston MA 02110
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                            (For Diversity Cases Only)                             and One Box for Defendant)
  1    U.S. Government              3   Federal Question                                                             PTF    DEF                                      PTF      DEF
                                                                                                                                                                                4


                                                                                                                                                                                    5


                                                                                                                                                                                    6




                                                                                                                                                        400 State Reapportionment




                                                                                                                                                        470 Racketeer Influenced and


                                                                                                                                                             (15 USC 1681 or 1692)




                                                                                                                                                        850 Securities/Commodities/

                                                                                                                                                        890 Other Statutory Actions

                                                                                                                                                        893 Environmental Matters
                                                                                                                                                                     f Information


                                                                                                                                                        899 Administrative Procedure
                                                                                                                                                            Act/Review or Appeal of




     COMPLAINT:                          UNDER RULE 23, F.R.Cv.P.                                                               JURY DEMAND:                 Yes        No
VIII. RELATED CASE(S)
                                        (See instructions):
      IF ANY                                                   JUDGE                                                       DOCKET NUMBER 2285CV01149
DATE                                                             SIGNATURE OF ATTORNEY OF RECORD
11/9/2022
FOR OFFICE USE ONLY

  RECEIPT #                  AMOUNT                                APPLYING IFP                            JUDGE                          MAG. JUDGE
